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 6
     Attorneys for Defendants
 7   DRP HOLDINGS, LLC; INLAND
     VALLEY INVESTMENTS, LLC; and
 8   PROMENADE SQUARE, LLC
 9

10                       UNITED STATES DISTRICT COURT
11                    SOUTHERN DISTRICT OF CALIFORNIA
12

13   BORREGO COMMUNITY HEALTH                CASE NO. '21CV1417 L    AGS
14   FOUNDATION, a California non-
     profit public benefit corporation,      NOTICE OF REMOVAL BY
15                                           DEFENDANT DRP HOLDINGS,
16                Plaintiff,                 LLC

17   v.
18
     INLAND VALLEY INVESTMENTS,
19   LLC, a California limited liability
20   company; DRP HOLDINGS, LLC, a
     California limited liability company;
21   PROMENADE SQUARE, LLC, a
22   California limited liability company;
     WILL LIGHTBOURNE, Director,
23   California Department of Healthcare
24   Services; and DOES 1 through 50,
     inclusive,
25

26                Defendants.
27

28         DEFENDANT DRP HOLDINGS, LLC’S NOTICE OF REMOVAL

                                   NOTICE OF REMOVAL

     Complaint
                                                                                Case 3:21-cv-01417-AJB-AGS Document 1 Filed 08/06/21 PageID.2 Page 2 of 7



                                                                                 1   TO THE CLERK OF THE ABOVE-ENTITLED COURT:
                                                                                 2            PLEASE TAKE NOTICE that Defendant DRP Holdings, LLC (“DRP”), by
                                                                                 3   and through its attorney, hereby removes to this Court the state court action
                                                                                 4   described below.
                                                                                 5            PROCEDURAL HISTORY AND TIMELINESS OF REMOVAL
                                                                                 6            1.       On June 4, 2021, an action was commenced in the Superior Court of
                                                                                 7   the State of California in and for the County of San Diego, entitled Borrego
                                                                                 8   Community Health Foundation v. Inland Valley Investments, LLC, et al., as case
                                                                                 9   number 37-2021-00024676-CU-FR-CTL (“State Court Action”). DRP attaches a
                                                                                10   copy of the Register of Actions (“ROA”) reflecting all filings and actions taken in
                                                                                11   the State Court Action as of August 6, 2021, a true and correct copy of which is
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                                                                                12   attached to this Notice starting at the first page of Exhibit B. A true and correct
                                                                                     copy of the original Complaint is attached to this Notice as Exhibit B at ROA #1.
                                                          SAN DIEGO, CA 92106




                                                                                13
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                                                                                14   The original Complaint was never served on DRP.
                                                                                15            2.       On or about June 7, 2021, Plaintiff Borrego Community Health
                                                                                16   Foundation (“Plaintiff”) filed in the State Court Action a First Amended Complaint
                                                                                17   (“FAC”), a true and correct copy of which is attached to this Notice as Exhibit B at
                                                                                18   ROA #8.1
                                                                                19            3.       On or about June 10, 2021, DRP was served with Summons and the
                                                                                20   FAC by substituted service. Likewise, on or about June 10, 2021, Defendant
                                                                                21   Inland Valley Investments, LLC (“Inland Valley”) and Defendant Promenade
                                                                                22   Square, LLC (“Promenade Square”) were served with Summons and the FAC by
                                                                                23   substituted service. True and correct copies of the Proofs of Service of Summons
                                                                                24   reflecting service of the Summons and FAC on DRP, Inland Valley and
                                                                                25   Promenade Square are attached to this Notice as Exhibit B at ROA #9, ROA #10
                                                                                26   and ROA #11.
                                                                                27
                                                                                     1
                                                                                       The pleadings, orders and/or actions reflected at ROA numbers 2 through 7, 12, 13 and 17 are included in
                                                                                28   Exhibit B attached hereto, but are not specifically addressed in this Notice because they have no direct bearing on
                                                                                     removal.
                                                                                                                                            2
                                                                                                                                   NOTICE OF REMOVAL
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                                                                                 1         4.     Between July 2, 2021 and July 14, 2021, counsel for Plaintiff and
                                                                                 2   DRP met and conferred about certain deficiencies in the FAC. Plaintiff agreed to
                                                                                 3   file a Second Amended Complaint in an effort to cure such deficiencies. On or
                                                                                 4   about July 13, 2021, Plaintiff filed a Joint Stipulation for Leave of Court For
                                                                                 5   Plaintiff To File Second Amended Complaint, a true and correct copy of which is
                                                                                 6   attached to this Notice as Exhibit B at ROA #14. On or about July 15, 2021 the
                                                                                 7   judge of the San Diego Superior Court signed the Joint Stipulation and made it an
                                                                                 8   order of the court, a true and correct copy of which is attached to this Notice as
                                                                                 9   Exhibit B at ROA #15.
                                                                                10         5.     On or about July 30, 2021, Plaintiff filed in the State Court Action a
                                                                                11   Second Amended Complaint (“SAC”), a true and correct copy of which is attached
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                                                                                12   to this Notice as Exhibit B at ROA #16. In the SAC, Plaintiff asserts for the first
                                                                                     time a claim under 18 U.S.C. § 1962(c), violation of the Racketeer Influenced and
                                                          SAN DIEGO, CA 92106




                                                                                13
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                                                                                14   Corrupt Organizations Act (“RICO”). Prior to the filing of the SAC, Plaintiff had
                                                                                15   not alleged any claims which would confer jurisdiction in the federal courts.
                                                                                16         6.     On or about July 30, 2021, DRP, Inland Valley and Promenade
                                                                                17   Square were served with the SAC at the offices of undersigned counsel by
                                                                                18   overnight delivery. A true and correct copy of the Proof of Service of the SAC is
                                                                                19   attached as the final page of the SAC, attached to this Notice as Exhibit B at ROA
                                                                                20   #16. This Notice of Removal is timely, as it is filed within thirty days after service
                                                                                21   of the SAC pursuant to 28 U.S.C. § 1446(b).
                                                                                22         7.     The California Superior Court for the County of San Diego is located
                                                                                23   within the Southern District of California. 28 U.S.C. § 84(d). This Notice of
                                                                                24   Removal is therefore properly filed in this Court pursuant to 28 U.S.C. § 1441(a).
                                                                                25         8.     True and correct copies of all process, pleadings, and orders served on
                                                                                26   DRP in the State Court Action are included in Exhibit B at ROA #1 through ROA
                                                                                27   #17 to this Notice.
                                                                                28   ///
                                                                                                                               3
                                                                                                                      NOTICE OF REMOVAL
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                                                                                 1         9.     Attached to this Notice of Removal as Exhibit A is a Civil Cover
                                                                                 2   Sheet relating to this Notice.
                                                                                 3         10.    The undersigned counsel hereby certifies that DRP will file with the
                                                                                 4   Clerk of the Superior Court of California, County of San Diego, a Notice of
                                                                                 5   Removal To Federal Court, with a true and correct copy of this Notice of Removal,
                                                                                 6   as required by 28 U.S.C. § 1446(d). A true and correct copy of DRP’s Notice of
                                                                                 7   Removal to Federal Court that DRP will file with the Clerk of the Superior Court
                                                                                 8   of California is attached hereto as Exhibit C (to avoid redundancy, Exhibit C
                                                                                 9   attached here does not include the exhibits that are attached to this Notice of
                                                                                10   Removal). The undersigned counsel further certifies that pursuant to 28 U.S.C.
                                                                                11   § 1446(d), DRP will serve counsel for Plaintiff with (a) a copy of the Notice of
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                                                                                12   Removal To Federal Court that DRP files with the Clerk of the Superior Court of
                                                                                     California, County of San Diego, and (b) a copy of this Notice of Removal.
                                                          SAN DIEGO, CA 92106




                                                                                13
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                                                                                14                                BASIS FOR REMOVAL
                                                                                15         11.    This action is a civil action of which this Court has original
                                                                                16   jurisdiction under 28 U.S.C. § 1331, and is one which may be removed to this
                                                                                17   Court by DRP pursuant to the provisions of 28 U.S.C. § 1441(a) in that it contains
                                                                                18   a claim which arises under a federal statute, 18 U.S.C. § 1962(c), commonly
                                                                                19   known as RICO. Emrich v. Touche Ross & Co., 846 F.2d 1190, 1195-1196 (9th
                                                                                20   Cir. 1988). Specifically, Plaintiff alleges in its Ninth Cause of Action in the SAC a
                                                                                21   claim against Defendants DRP; Inland Valley, and Promenade Square (to whom
                                                                                22   Plaintiff’s SAC refers collectively as the “Priest LLCs”) for violating 18 U.S.C.
                                                                                23   § 1962(c). Neither this claim nor any other claim giving rise to this Court’s
                                                                                24   jurisdiction was present in Plaintiff’s original Complaint or its FAC. [Compare
                                                                                25   Exhibit B at ROA #1 (original Complaint) and Exhibit B at ROA #8 (FAC) with
                                                                                26   Exhibit B at ROA #16 (SAC).]
                                                                                27         12.    This Court additionally has pendent jurisdiction over Plaintiff’s
                                                                                28   asserted state law claims pursuant to 28 U.S.C. § 1441(a) and 28 U.S.C. § 1367.
                                                                                                                               4
                                                                                                                      NOTICE OF REMOVAL
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                                                                                 1   Emrich v. Touche Ross & Co., 846 F.2d 1190, 1195-1196 (9th Cir. 1988).
                                                                                 2         ALL OTHER SERVED DEFENDANTS CONSENT TO AND JOIN IN
                                                                                 3                            THE NOTICE OF REMOVAL
                                                                                 4         13.    The undersigned counsel hereby certifies that all other Defendants in
                                                                                 5   the State Court Action that have been served with the Summons and the SAC
                                                                                 6   consent to this removal and have joined in this Notice of Removal, as further
                                                                                 7   evidenced by the Joinder In Notice of Removal of Action to be filed by Defendants
                                                                                 8   Inland Valley and Promenade Square. The undersigned is counsel of record for
                                                                                 9   Defendants DRP, Inland Valley and Promenade Square.
                                                                                10               THE ONLY DEFENDANT WHO HAS NOT JOINED HAS NOT
                                                                                11   BEEN SERVED SUMMONS OR PROCESS OF ANY KIND, AND PER THE
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                                                                                12    ALLEGATIONS OF THE SAC IS ALIGNED WITH PLAINTIFF AND A
                                                                                                            NOMINAL DEFENDANT ONLY
                                                          SAN DIEGO, CA 92106




                                                                                13
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                                                                                14         14.    DRP is informed and believes that to date, Plaintiff has not yet served
                                                                                15   Defendant Will Lightbourne (“Lightbourne”), Director of the California
                                                                                16   Department of Health Care Services (“DHCS”), with the Summons, Plaintiff’s
                                                                                17   original Complaint, the FAC, or the SAC. Plaintiff admits in the Joint Stipulation
                                                                                18   for Leave of Court For Plaintiff To File Second Amended Complaint, filed on or
                                                                                19   about July 13, 2021, that “Defendant Will Lightbourne, Director, California
                                                                                20   Department of Health Care Services (“Lightbourne”) has not yet been served in
                                                                                21   this matter.” (See Exhibit B at ROA #14.) Because Lightbourne has not yet been
                                                                                22   served in the State Court Action, Lightbourne’s absence from this Notice of
                                                                                23   Removal does not render the removal defective. Salveson v. W. States Bankcard
                                                                                24   Ass’n, 731 F.2d 1423, 1429 (9th Cir. 1984) (“Our circuit rule is that a party not
                                                                                25   served need not be joined” for purposes of removal), superseded by statute on
                                                                                26   other grounds.
                                                                                27         15.    Nominal defendants need not consent to the removal. Hewitt v. City
                                                                                28   of Stanton, 798 F.2d 1230, 1232-33 (9th Cir. 1986). Pursuant to the allegations in
                                                                                                                              5
                                                                                                                     NOTICE OF REMOVAL
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                                                                                 1   the SAC, Lightbourne is a nominal defendant, named solely in Plaintiff’s claim for
                                                                                 2   interpleader against all Defendants. Moreover, the allegations of Plaintiff’s SAC
                                                                                 3   make it clear that Defendant Lightbourne of the California Department of
                                                                                 4   Healthcare Services (“DHCS”) and Plaintiff are aligned and have similar interests
                                                                                 5   in this action. Plaintiff goes so far as to allege that its lawsuit against DRP, Inland
                                                                                 6   Valley and Promenade Square is at the behest of Defendant Lightbourne. Plaintiff
                                                                                 7   alleges at ¶ 19 of the SAC:
                                                                                 8         Defendant Will Lightbourne is DHCS’ current Director and is sued in
                                                                                 9
                                                                                           his official capacity solely for the purposes of naming the DHCS as a
                                                                                           defendant in this action as an interested party to the interpleader cause
                                                                                10
                                                                                           of action.      Director Lightbourne is responsible for directing,
                                                                                           organizing, and administering the Medi-Cal program in accordance
                                                                                11
                                                                                           with all applicable laws and regulations. As such, he is responsible
                                                                                           for DHCS’ [sic] compliance with state and federal laws governing the
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                                                                                12
                                                                                           Medi-Cal program.
                                                          SAN DIEGO, CA 92106




                                                                                13   Plaintiff alleges at ¶ 7, subparagraph a, of the SAC, in pertinent part:
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                                                                                14
                                                                                           DHCS is presently allowing BCHF to continue operations under the
                                                                                15         guidance, oversight, and direction of a DCHS appointed independent
                                                                                           monitor. DCHS and its monitor have directed BCHF to suspend
                                                                                16         payment of rent over FMR on the three leases that are the subject of
                                                                                           this action.
                                                                                17

                                                                                18   Plaintiff alleges at ¶ 34 of the SAC:
                                                                                19
                                                                                           In order to remain in operation, BCHF signed an agreement with
                                                                                20         DHCS in February 2021 under which an independent monitor selected
                                                                                           by DHCS would institute a robust corporate integrity and compliance
                                                                                21         program at BCHF. As is relevant here, DHCS’ monitor has directed
                                                                                           BCHF to: (1) stop paying above FMR on the Priest Leases; and
                                                                                22         (2) take action to address over-FMR payments, excessive 30-year
                                                                                           term lease terms, and the failure to include lease provisions under
                                                                                23         which BCHF may terminate the leases. This lawsuit is BCHF’s good
                                                                                           faith attempt to comply with those directives.
                                                                                24

                                                                                25   (Emphasis added.)
                                                                                26
                                                                                     Plaintiff alleges at ¶ 92 of the SAC, in pertinent part:
                                                                                27

                                                                                28         DHCS and its appointed monitor have directed BCHF not to pay rent
                                                                                                                                6
                                                                                                                       NOTICE OF REMOVAL
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                                                                                 1         in excess of FMR, and to take immediate action to either reform or
                                                                                           rescind the Priest Leases (with all attendant remedies), for the reasons
                                                                                 2         alleged herein.
                                                                                 3   Accordingly, pursuant to Plaintiff’s own allegations, its own interests and those of
                                                                                 4   Lightbourne are entirely aligned, Plaintiff is allegedly acting at the direction and
                                                                                 5   under the control of the DHCS and Plaintiff named Lightbourne merely as a
                                                                                 6   nominal defendant. As such, Lightbourne’s absence from this Notice of Removal
                                                                                 7   does not render the removal defective. Hewitt, 798 F.2d at 1232-33.
                                                                                 8                                    CONCLUSION
                                                                                 9         16.    For all of the reasons stated above, this action is within the original
                                                                                10   jurisdiction of this Court pursuant to 28 U.S.C. § 1331. Accordingly, this action is
                                                                                11   removable pursuant to 28 U.S.C. § 1441(a).
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                                                                                12         WHEREFORE, Defendant DRP hereby gives notice that the above-
                                                          SAN DIEGO, CA 92106




                                                                                13   described action pending against it in the Superior Court of the State of California,
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                                                                                14   County of San Diego, is removed to this Court.
                                                                                15

                                                                                16   Dated: August 6, 2021             KYLE HARRIS LLP
                                                                                17

                                                                                18                                     By: /s/ John S. Kyle
                                                                                                                           John S. Kyle, Esq.
                                                                                19                                         Jeffrey B. Harris, Esq.
                                                                                                                           Laura K. Gantney, Esq.
                                                                                20                                         KYLE HARRIS LLP
                                                                                21                                          Attorneys for Defendants
                                                                                                                            DRP HOLDINGS, LLC; INLAND
                                                                                22                                          VALLEY INVESTMENTS, LLC, and
                                                                                                                            PROMENADE SQUARE, LLC
                                                                                23

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                                                                                                                      NOTICE OF REMOVAL
